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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION



       UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                             CASE NO. 6:06-CR-125-ORL-19

       SHARIKA FLOWERS,

               Defendant.



                                                  ORDER

                    The United States Sentencing Commission has promulgated Amendment 706

       lowering the base offense level for cocaine base (crack cocaine) offenses by two levels for

       eligible defendants sentenced on or after November 1, 2007. The Commission later decided

       this Amendment should be applied retroactively to Defendants sentenced before November

       1, 2007. The Court has undertaken a preliminary review of Defendant's case, in which

       Defendant was sentenced prior to November 1, 2007. Based on that review, Defendant may

       be eligible for reduction in Defendant's base offense level. Accordingly, the Court acting

       on its own motion pursuant to 18 U.S.C. §3582(c)(2), issues the following Order:

               1)      The Office of the Federal Public Defender is appointed to represent

       Defendant for the purpose of seeking a reduction of Defendant's original sentence and shall

       file a notice of appearance, a notice of conflict, or a notice that Defendant is not eligible for

       the services of the Public Defender within seven (7) days of this Order. If a notice of

       conflict is filed, the Court may appoint CJA counsel to represent Defendant. This
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       appointment of counsel does not deprive Defendant of the right to retain private counsel

       should Defendant have the financial resources to do so.

              2)      The United States Attorney's Office shall cause a notice of appearance to be

       entered on behalf of the Government within seven (7) days of this Order.

              3)      The United States Probation Office shall provide this Court, Defendant's

       counsel, and Government counsel a supplemental presentence report within fifteen (15)

       days from the date of this Order, subject to an extension of time by Order of Court upon

       request by the Probation Office. The supplemental report shall address the issues of whether

       Defendant is eligible for a reduction of Defendant's sentence and, if so, whether Defendant

       is suitable for such a sentence reduction pursuant to the provisions of the Amendment and

       U.S.S.C. §1B1.10, which is scheduled to become effective on March 3, 2008. The

       supplemental report shall specifically include the following: (a) whether Defendant is

       eligible for a sentence reduction and, if so; (b) a proposed calculation of the new guideline

       range or the percentage below the guideline range as appropriate; (c) a report on the

       institutional adjustment of Defendant; (d) a report on the danger of Defendant to the public;

       (e) a report on the post-release plans of Defendant; and (f) Defendant's place of incarceration

       and whether that facility has video conferencing capability.

              4)      Defendant's counsel and the Government shall file a response to the Probation

       Office's supplemental report within five (5) days of receipt of the supplemental report. Prior

       to filing their responses, counsel shall confer personally in a good faith effort to resolve any

       disputes with regard to Defendant's eligibility and suitability for a sentence reduction and

       shall include in their responses the issues upon which they agree or disagree. In the event

       counsel agree that Defendant is eligible and suitable for a sentence reduction, they shall file
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       a stipulation to that effect.

               5)      Upon receipt of the Probation Office's report and counsels' responses (and

       stipulations, if any), the Court will either issue an Order based on the supplemental report

       and responses and stipulations or convene a hearing.

               6)      In the event the Court rejects a stipulation of counsel that Defendant is

       eligible and suitable for a sentence reduction, or a stipulation as to a proposed sentence, if

       any, the Court will enter an Order advising counsel of that fact and will allow counsel an

       additional period of time to supplement their responses before deciding the merits of the

       motion either on the written submissions or by way of a hearing as the Court determines.

               7)      Defendant is relieved of the responsibility of filing a separate motion

       requesting a sentence reduction.

               8)      The Clerk's Office is directed to furnish a copy of this Order to the Office of

       the Federal Public Defender, the United States Attorney's Office, the United States Probation

       Office, and the Defendant at Defendant's address of TALLAHASSEE FCI.

               DONE AND ORDERED at Orlando, Florida, this 31st                 day of January, 2008.
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       Copies to:

       All Counsel of Record
